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Transcript of Sophia Smith, M.D.
                         Date: July 19, 2018
           Case: Williams -v- United States of America, et al




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                                          Transcript of Sophia Smitb M.D.                                3 (9 to 12)
                                            Conducted on July 19, 2018
                                                       9                                                           11

1    20010.                                                 I    Q So you've highlighted everything on
2       a I'm sorry, what was the street address?           2 Exhibits I and 2 as documents that you actually
3       A     My home?                                      3 reviewed?
4       a     For the work.                                 4 A Yes, I reviewed - therers pieces of --
5       A     111 Michigan Avenue.                          5 of information, you knoq like laboratory that were
6       a     Is that the main address?                     6 kind ofpiecing each one ofthe areas, so it depend
7       A     Main address, yes.                            7 on what part ofthe dates, those are all ofthe
8       a     And have you ever worked at the United        8 documents I've looked at.
9    Medical Center address?                                9 Q Okay. Now, did you make any notes, and I
10 A Yes.                                                   10 mean at the time lll'2014, did you make any notes in
II a When was that?                                         I I any of these records that we've identified on
12 A We work there all the time, so we                      12 Exhibit I and Exhibit 2?
13 transfer between both 111 Michigan Avenue and the   13 A I donrt understand your answer. Notes
14 1310 Southern Avenue, Washington, D.C., and that is 14 meaning -
15 all I know.                                         15 a Did you make any progress notes or write
16 a Uh-huh. But we're talking about one at            16 any physician's orders?
17 United Medical Center?                              17 A Therers a note from me, yes. There's
18 A United Medical Center, correct.                   18 actually two notes from myself.
19 a And for how long have you been working in         19 a Okay. Tell me, in which documents are
20 both locations?                                          20 the notes?
2l A Since 2011.                                            2l    A The first noters going to be in -- this
22   MS. EVANS: Let's mark this as I and this               22 is the August 5th admit date when he came to the
                                                       10                                                              12

I as2.                                                      I emergency room.
2      (Deposition Exhibit Numbers I and 2 were             2 Q l-Ih-huh. In20l3?
3 marked for identification.)                               3 A 2013, correct
4 BY MS. EVANS:                                             4      MS. DEESE: August?
5       Q Dr. Smith, let me show you what we've             5 A This is August 5th.
6 marked as Exhibit Number I and show you also what         6 Q Yeah, 8/13.
7 we've marked as Exhibit Number 2, and as I                7       MS, DEESE: '13. I got it.
8 understand from \[s. Deese, these reflect the             8 A 8l5ll3, and then the second time would
9 documents that were sent to you regarding Mr.             t have beenthe in-between addendumnote thattook
l0 Williams?                                                10 place on 10/3, 1014,' in between that time, the 10/4
11 A Yes, they were.                                        ll admission.
12 a Okay. Can you - and I've got a                         12 a Okay. Tell me what page.
13 higruight here. Would you highlight what you             13 A Itm sorry thafs - okay, that's going
14 actually reviewed?                                       14to be page 190 -199,199.
15 A Well, I reviewed on the Exhibit Number 2               ls a CNMC ER --
16 - this actually reflects everything that's already       16 A 199, andthe firstone wouldhave been
17 in the tablets, so it's actually equal to both           17page CNMC ER 230.
            -
18 sides, but                                               18 MS. EVANS: Let's markthis Exhibit
19 a l-lh-huh.                                              19 Nurnber 3.

20 A - what I have reviewed is going to be                  20        (Deposition Exhibit Number 3 was marked
21 probably everything on this - I can just higltlight      2l for identification.)
22-letts see. That's going to be -                          22BY MS. EVANS:
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                                        Transcript of Sophia Smith, M.D                               9 (33 to 36)
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I Q So you believe there were a total of                  I him.
2 fle?                                                    2 Q Andv*rat didyouquestionhim about?
3 A Five, yeah.                                           3 A As I always do when it comes to
4 Q And you saw -- you saw five, is that                  4 teen-agers, I ask the patients to leave the roomn
5 right, or --                                            5 and then I go through my sexual history, my drug
6    A I saw about - I would say I saw about              6 history very clearly. So I would have asked him --
7 three or four by myself.                                7 and this is where he and I got into a very heated
8      Q Plus the one -                                   8 discussion. I asked him are you sexually active,
9      A Plus the one with him would be a total of        9 yes or no. IaskedNm-- Iwouldaskthem-- and
10 five that I saw.                                       10 this is veryroutine on all myteen-agers. Are you
ll a       Okay.                                          11 sexually active, yes or no? Are you sexually
12 A And he may have seen one by himself.                 12 active with same sex or opposite sex? I asked him
13 a And how long did each spasm last?                    13 about how manypartners, are you using protection,
14 A I-ess than two minutes.                              14 not protection, are you using any objects that we
15 a Somewhere between one to two minutes?                15 should know about for sex toys.
16 A One to two minutes, yes.                             16      We talk about the use ofdrugs, are you
17 a Now, I saw in the chart that you                     17 smoking, snorting, eating, injecting, sniffing,
l8 prescribed Valium for him. What was the purpose of     18 anything that we should know about with drugs. And
19 prescribing Valium?                                    19 that's routine, and then ofcourse anything else
20 A At that time, because he was having these            20 would come up. Thatrs my routine of all my
21 spasms, and I was concerned that it may just be        2l questions, and then questioning him about all this,
Z2purely muscle spasns. We use Valium to relax            22 this is when he and I got into a quite heated
                                                    34                                                             36

I   muscles, and I wanted to see if that would give him   I discussion.
2 any relief.                                             2         He became quite adamant and ossified in
3 Q Did it?                                               3 his response to me when I was going through his
4 A I think briefly it did, but then the                  4 sexual history, he - that?s when he was much more
5 spasms returned, so I knew then that that was not       5 awake. He was not having any spasms, but began
6 at all helping him.                                     6 screaming back at me very adamant about him not
7 Q Were the spasms of the same length or                 7 being sexually active, being very clear that I am
8 were they getting longer?                               8 not .- I am a virgin, I have not - I have not had
9 A Idon'trecall.                                         9 any sex at all, Irm not: I told him look, this is
l0 a Did they get worse over time?                        10 - as I do all my teen-agen, this is just you and
11 A I will say they were - they were                     11 I in a room together. Therers nobody else, you
12 probably all as - equally intense because ofthe        12 knoq here. I don?t share this information with
13 change in vital signs that we saw going on, always     13 your family. I need to know what's going on. What
14 the same heart rate increase, always the same blood    14 are you doing?
15 pressure increase, always the same screaming.          15        And again, he and I went back and forth,
16 a       And was his mother present when he was         16 and it got such a heated screaming, one ofthe
17 having these spasms?                                   17 nurses came in the room, said Dr. Smith, are you
18 A I will say she was there. I don't recall             18 okay? What's going on? And I said nothing, we're
19 if she was there for all of them, but she              19 good, donrt worry about it. I said werre just
20 definitely observed a few with us, and thatrs when     20 having a nice discussion here about Hellvon. And
21 I went to questioning him and trying to determine      21 she walks out of the room, and I looked at him
22 what other possibilities might be going on with        22 again and said I need these tests, you got to level
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                                      Transcript of Sophia Smitb M.D                                   l-0 (37 to 40)
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                                                    37                                                            39

1 with me and tell me what really is going on, are        I     Q I'm sorry, Jamil?
2 you using anything, are you taking anything, have       Z A Jamil Madati I think is going to be his
3 you been involved with anything, and so as we kept      3 last - M-A-D-A-T-I.
4 going back and forth and he was screaming very          4 Q M-A--
5 clearly, and again, very -- and righteous               5 A D.A.T.I.
6 indignation, he was I am not at all sexually            6 Q D-A-T-L
7 active.                                                 7 A He would have been the charge doc at that
8         So I said look, we're going to get these        I time, and thatrs when I made the decision that I
9 tests because I need to know what's going on.           9 didn't think he was stable enough to go to the
10 These spasms were happening, nothing is clear. The     10 floor, and because he was having these spasms that
11 laboratory values are not pointing me at anything a    11 I was actually witnessing, I needed him to be
12 hundred percent here. I need more information, and     12 further evaluated before making the decision to
13 at that point in time with my persistence, which I     13 send him to the floor.
14 do a lot with the teen-agers.                          14        Dr. Madati agreed that he would bring him
15         They actually use me a lot to make sure f      15 to the emergency room and they would evaluate him
16 get the  kids to really hear that werre here to help   16 and make a decision whether or not he was stable
17 them and not to hurt them. He then agreed that he      17 enough to go to the floor and/or if the spasms were
18 will let me do the oral HIV test on him as well as     18 happening and they were concerned about his
19 a urine -- and I told him I was -- I had told him      19 clinical picture, they would then have sent him to
20 already I was running a urine drug screen. I           20 the intensive care unit.
21 didnrt need to ask him that question, but I told       2l    a     Is there a note regarding your discussion
22 him I was going to run it anyway.                      22withDr. Madati?
                                                    38                                                            40

I    Q Uh-huh. What room were you in with him             1 A There is not.
2 when you had these discussions?                         2 Q What else do you recall that's not
3 A I don't recall. Room 5 or room 6. I                   3 documented?
4 dontt know what that corner where we were.              4 A I believe therefs documentations of the
5 Somewhere in that corner over there. I dontt know       5 orders that I made to - for getting the - if you
6 the room number.                                        6 look at - I donrt recall which page, but there are
7 Q Did you say a corner room?                            7 orders for the oral OraSure was to be done, HfV
8 A I said I think- I donrt recall exactly.               8 test that was to be done.
9 I said I think it was one of the corner rooms.          9        MS. DEESE: She said oral OraSure.
10 a What else do you recall that's not                   10 TIIE WITMSS: OraSure, yefr,
I I written down?                                         11 0-R-A-S-U-R-E.
12 A We had discussions - that - probably                 12 BY MS. EVANS:
13 the fight that we - he -- he and I had prior to us     13 a Could you find that for me?
14 getting the test results, that would have been the     14 MS. DEESE: Do you mind if I help her?
15 - the biggest discussion that he and I had. I          15 MS. EVANS: No.
16 came back to talk to his mom a couple times just to    16 MS. DEESE: I'm not for sure what you're
17 update her as to transportation should be here         17 looking for.
18 soon. There is also - because of spasms were           18        THE WITNESS: I'm looking for the HIV,
19 happening, I had already called over to the            19 that paper.
20 hospital and had a discussion with the charge doc      20        MS. DEESE: Are you talking about those
2l atthat time, which would have been Dr. Jamil           2l pages?
22 Madati, M-A-D-A-T-I.                                   22        TIIE WITNESS: Yes, OraSure paper, yes.
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                                           Transcript of Sophia Smitb M.D                                15 (57 to 60)

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I        MS. DEESE: I need a break for comfort              I     A I don't think there's any identifying
2 when you get to one.                                      2 factor other than the time and date when you - you
3        MS. EVANS: Okay, this is good.                     3 submit them would show up, and that would indicate
4            (Recessed at 12:07 p.m.)                       4 what time you came back into the chart and put your
5          (Reconvened at 12:15 p.m.)                       5 submissions in, but you don't - nobody ever says
6        (Deposition   Exhjbit Number 6 was marked          6 late submission and documents. They just start
7 for identification.)                                      7 documenting if they have the opportunity to put the
8 BYMS, EVANS:                                              8 rest of their information in.
9      Q Do you recall if the computers or the              9 Q I don't remember who -- whose deposition
10 electronic health record was down on October 3rd,        l0 I took, but one ofthe doctors said that on -- on
ll 2014 at any point when you were providing medical        I I some aspect of the electronic medical record, that
12 care to Mr. Williams?                                    12 you could put in the date and the time.
13 A It was down that day, yes, that evening.               13 A Ifyou -
14 a The entire evening?                                    14 a Is that accurate?
15 A I don't recall the time frame.                         15 A If you remembered how to do that -
16 a And what was the procedure at Children's               16 a Uh-huh.
17 National Medical Center if the computers were down?      l7    A -- in terms of - and not everybody knows
18 A If the computers are down, normally the                18 how to do that. There is a time and date you
19 - I'm not sure who this person - but all orders          19 submit - when you actually - when your - when
2Othzt have been placed the night before or during          20 you enter into electronic chart, the time and
2lthat period of time get put in I believe by the           2| daters there.
22 nurse, or the charge nurse. Laboratories are             22 a Uh-huh.
                                                       58                                                            60

I supposed to been also put into the system. And       1 A Ifyouknowhowtodoit,youcangoup
2 then if you have started electronically, you try to 2 to the time and date and actually scroll to try to
3 finish electronically, but if you donrt get that     3 reflect that date --
4 electronic submission    in, then therers  - they do 4 Q Uh-huh.
5 have paper charts. I donft recall that nigh! it      5 A -- and time. That wayit would kind of
6 was  a -  if there were paper   charts  or not that  6 flow into the chart. Not everybodydoes that, and
7 night given out, but it would have been during that 7 is -- I don't thinkis -- and nobodyrs made it a
8 time for - if he was started electronically, he      8 policy, but because you submit it, our thing is you
9 would   have   maintained  electronic  submissions.  9 submit when you submit, and you, you know, put your
10 Anybody after then would have been on a paper            10 chart in and you sign and itrs done, and people
1.1 trail.                                                  11 would know -- you know, they can always come back
12            So for   - for example, so Heilvon came in    12 and ask why was your submission that late, and they
13 before the computers went down, so everything at         13 could look and know it was because there was no
l{tha;t point you would try to do would be to try to  14 computer access during that period of time.
15 continue electronically after the computers come   15 a Uh-huh. Didyouknowhowto do that?
16 back up. So that would mean - it would be - it     16 A To--
17 would mean late submissions and late notes, so if  17 a To change the date and the time to
18 you had to go back into the computer after it came l8 reflect the time that the care was gir.en but not
19 back up.                                           l9 the time that the late entry was made.
20 a And when you were -- if you had to make                20 A I know I did that, yes.
2l thelate submissions and the late entries, would          2l a Doyouhavearecollectiononewayorthe
22youidentr$ them as late entries?                          22 olher as to whether or not youmade anypaper
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